            Case 1:12-cr-00418-AWI-BAM Document 39 Filed 10/25/13 Page 1 of 2


 1   DAVID A. TORRES AND ASSOCIATES
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 6

 7                            IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: Case No.12-CR-00418 AWI-BAM
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                    Plaintiff,                       ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE; ORDER
12          vs.                                        )
                                                       )
13   ENRIQUE RODRIGUEZ,                                )
                                                       )
14                    Defendant                        )
15   Defendant, ENRIQUE RODRIGUEZ, hereby waives his appearance in person in open court
16   upon the Status Conference hearing set for Monday, October 28, 2013 in Courtroom 8 of the
17   above entitled court. Defendant hereby requests the court to proceed in his absence and agrees
18   that his interest will be deemed represented at said hearing by the presence of his attorney,
19   DAVID A. TORRES. Defendant further agrees to be present in person in court at all future
20   hearing dates set by the court including the dates for jury trial.
21

22   Date: 10/24/13                                                 /s/Enrique Rodriguez______
23
                                                                    ENRIQUE RODRIGUEZ

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           Case 1:12-cr-00418-AWI-BAM Document 39 Filed 10/25/13 Page 2 of 2


 1                                             ORDER

 2          Good cause appearing.

 3          IT IS HEARBY ORDERED that defendant ENRIQUE RODRIGUEZ is hereby excused

 4   from appearing at this court hearing scheduled for Monday, October 28, 2013.

 5
     IT IS SO ORDERED.
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 7      Dated:    October 24, 2013                         /s/ Barbara A. McAuliffe   _
                                                     UNITED STATES MAGISTRATE JUDGE
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